         Case 3:19-cv-00886-JWD-SDJ              Document 21        06/27/24 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

STEVEN W. YOUNG, ET AL                                          CIVIL ACTION

V.

CITY OF BATON ROUGE, ET AL                                      NO. 19-886-JWD-SDJ

       CONSENT MOTION TO EXTEND RESPONSIVE PLEADING DEADLINE

        NOW INTO COURT, through undersigned counsel, comes defendant, the City of Baton

Rouge/Parish of East Baton Rouge (“City/Parish”) and Chief Thomas Morse, Jr., who

respectfully move this Honorable Court for an Order granting an extension of time of thirty (30)

days to file responsive pleadings for good cause as stated below:

                                                   1.

        On June 11, 2024, Plaintiff, Steven Young, filed a Motion for Leave to File First

Amended Complaint. Rec. Doc. 16.

                                                   2.

        On June 13, 2024, the Court granted leave for same. Rec. Doc. 17.

                                                   3.

        On June 14, 2024, Plaintiffs’ First Amended Complaint was filed. Rec. Doc. 18.

                                                   4.

        The facts and circumstances of two distinct arrest events involving Steven Young as

alleged within the First Amended Complaint encompass different known and unknown

individuals, more comprehensive and expansive information in contrast to that contained within

the original petition filed in state court prior to removal. (I.e., thirteen pages within original

petition expanded to forty-five pages within the amended complaint).
          Case 3:19-cv-00886-JWD-SDJ                  Document 21          06/27/24 Page 2 of 3




                                                        5.

        Undersigned requires more time to review the pleadings related to Plaintiff’s more recent

(2023) interaction with police made the subject herein to more adequately understand how the

two arrest events roughly five years apart can be related, if at all.

                                                        6.

        Accordingly, the defendants respectfully request an extension of time of thirty (30) days1

to respond to the First Amended Complaint.

                                                        7.

        Undersigned has communicated this information to counsel for all parties, and there is no

objection to this request for an extension of time under the circumstances.

                                                        8.

        No prejudice or undue delay would befall any party in the granting of this motion.

        WHEREFORE, mover prays this Honorable Court grant the request for an extension of

time until July 29, 2024 to file their responsive pleading for good cause shown.

                                                     RESPECTFULLY SUBMITTED:
                                                     A. GREGORY ROME
                                                     PARISH ATTORNEY

                                               BY: /s/ Michael P. Schillage
                                                   Michael P. Schillage (#35554)
                                                   Sr. Special Assistant Parish Attorney
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                                                   Attorney for defendants, City of Baton
                                                   Rouge/Parish of East Baton Rouge and Chief
                                                   Thomas Morse, Jr.


1
 Thirty days from tomorrow is Sunday, July 28, 2024. Accordingly, the City/Parish requests until the following
Monday, July 29, 2024.

                                                                                                                 2
         Case 3:19-cv-00886-JWD-SDJ            Document 21        06/27/24 Page 3 of 3




                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a copy of the foregoing was this date sent to all counsel of

record by electronic mail to the email address listed with the Court’s electronic filing system,

facsimile, and/or U.S. mail, postage prepaid and properly addressed. Notice will be mailed to

any party or counsel not participating in the Court’s CM/ECF system by this date depositing

same in the United States Mail, postage prepaid, and properly addressed.


       Baton Rouge, Louisiana this 27th day of June, 2024.


                              _____/s/ Michael P. Schillage
                                 MICHAEL P. SCHILLAGE




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